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              IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF GEORGIA
                       COLUMBUS DIVISION
H&L FARMS, LLC; SHAUN HARRIS        )
and AMIE HARRIS,                    )
                                    )
         Plaintiffs,                )
                                    )
v.                                  ) CIVIL ACTION FILE
                                    ) NO. 4:21-cv-00134-CDL
SILICON RANCH CORPORATION; SR )
LUMPKIN, LLC; INFRASTRUCTURE        )
AND ENERGY ALTERNATIVES, INC.; )
IEA CONSTRUCTORS, LLC; and          )
WESTWOOD PROFESSIONAL               )
SERVICES, INC.,                     )
                                    )
         Defendants.                )
__________________________________________________
PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ BRIEF IN
 SUPPORT OF THEIR POSITION THAT THE SCOPE OF THE PARTIAL
       RETRIAL VIOLATES THEIR CONSTITUTIONAL RIGHTS

                                INTRODUCTION

      Defendants argue that the partial new trial on damages ordered by this Court

would violate their Seventh Amendment rights. They claim that punitive damages

and the emotional distress claim are covered by unique caselaw exempting them

from separate damages trials. Defendants are wrong in all respects.

               ARGUMENT AND CITATION OF AUTHORITY

      A. Defendants Rely on Outdated Law

      The Federal Rules authorize both the grant of a partial new trial and the

severance of damages from liability in separate trials. Rule 59(a) authorizes district
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courts to grant a new trial “to all or any of the parties and on all or part of the

issues.” (italics added). The severance of liability from damages is also covered by

Rule 42(b):

      Separate Trials. For convenience, to avoid prejudice, or to expedite and
      economize, the court may order a separate trial of one or more separate
      issues, claims, crossclaims, counterclaims, or third-party claims. When
      ordering a separate trial, the court must preserve any federal right to a jury
      trial.

Fed. R. Civ. P. 42(b) (italics added).

      This Rule plainly applies to partial new trials as to damages only, as the

Seventh Circuit confirmed in MCI Communications Corp. v. Am. Tel. & Tel. Co.,

708 F.2d 1081, 1166–67 (7th Cir. 1983). After holding that “defects in the proof of

damages require that the jury verdict be set aside,” the Court addressed retrial.

      This does not, however, necessarily mandate a new trial on all issues.
      Rule 42(b) of the Federal Rules of Civil Procedure permits the
      separate trial of any issue when separation would be “in furtherance of
      convenience or to avoid prejudice, or when separate trials will be
      conducive to expedition and economy.” Fed.R.Civ.P. 42(b). Only one
      of these conditions need be met for the court to order a Rule 42(b)
      separate trial. A new trial on liability is unwarranted since this court
      has affirmed liability for monopolization….

Id. (citation omitted). The Court added that such damages-only trials have been

“endorsed by the Manual for Complex Litigation.” Id. at 1167.

       “Under Rule 42(b), a district court has broad discretion in separating issues

and claims for trial as part of its wide discretion in trial management.” Gardco

Mfg., Inc. v. Herst Lighting Co., 820 F.2d 1209, 1212 (Fed. Cir. 1987). An “order

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that separate trials be held on liability and damages … is ordinarily firmly within

the discretion of the trial court under Fed.R.Civ.P. 42(b).” In re Master Key

Antitrust Litig., 528 F.2d 5, 14 (2d Cir. 1975).

         The Federal Rules of Civil Procedure give district courts broad discretion in
         deciding whether to sever issues for trial and the exercise of that discretion
         will be set aside only if clearly abused. F.R.CIV.P. 42(b); Parmer v.
         National Cash Register Company, 503 F.2d 275, 277 (6th Cir.1974); Idzojtic
         v. Pennsylvania Railroad Company, 456 F.2d 1228, 1230 (3rd Cir.1972); 9
         Wright & Miller, Federal Practice and Procedure § 2392 (1971).

Easton v. City of Boulder, 776 F.2d 1441, 1447 (10th Cir. 1985).

         Defendants rely on a 46-year-old Fifth Circuit case for the proposition that

“the procedural device of a partial new trial should be the exception not the rule,”

(Defendants’ Br. at 5, citing Alabama v. Blue Bird Body Co., 573 F.2d 309, 318

(5th Cir. 1978)), and on a 1930s Supreme Court case, Gasoline Prods. Co. v.

Champlin Refining Co., 283 U.S. 494, 500 (1931). Defendants are badly behind the

times.

         Modern Eleventh Circuit precedent does not construe Blue Bird or Champlin

Refining as Defendants urge; instead, that Court emphasizes the discretion trial

courts have to split liability from damages. As the Court noted in Sowers v. R.J.

Reynolds Tobacco Co., 975 F.3d 1112, 1130–31 (11th Cir. 2020), “We have

applied Champlin Refining’s Reexamination Clause standard a number of times,

usually affirming a district court’s grant of a partial retrial of an issue before a new

jury or ordering one ourselves.” (emphasis added).
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      The Sowers Court cited six examples, including Burger King Corp. v.

Mason, 710 F.2d 1480, 1487 (11th Cir. 1983) and Mfg. Research Corp. v. Greenlee

Tool Co., 693 F.2d 1037, 1041–42 (11th Cir. 1982), which approved new trials

limited to the issue of damages. The Court also cited Overseas Private Inv. Corp.

v. Metro. Dade Cty., 47 F.3d 1111, 1113, 1116 (11th Cir. 1995); Roboserve, Ltd. v.

Tom’s Foods, Inc., 940 F.2d 1441, 1447 (11th Cir. 1991); FIGA v. R.V.M.P. Corp.,

874 F.2d 1528, 1533–34 (11th Cir. 1989); and Brown v. Electrolux Home Prods.,

Inc., 817 F.3d 1225, 1239 (11th Cir. 2016). And in Sowers itself, the Eleventh

Circuit authorized and approved splitting the case into three parts before three

different juries, with the third jury deciding the amount of punitive damages. (We

discuss Sowers more below in the section on punitive damages.)

      Similarly, Defendants argue that other “circuits have adopted strict standards

regarding the appropriateness of a partial retrial limited to damages.” Defendants

Br. at 5-6. The cases Defendants list are 49-54 years old, the youngster being a

single Seventh Circuit case that is only 29, did not involve a retrial, and did not

involve a first jury determining liability and a second jury deciding damages.1 The



1
  In re Rhone-Poulenc Rorer, Inc., 51 F.3d 1293, 1303 (7th Cir. 1995). That case
did not involve one jury deciding liability and another damages. Instead, it
involved a far more dubious fracturing, not only carving up sub-issues within
liability but also separating those determinations as between named plaintiffs and
class members:

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modern cases simply go a different way. Indeed, Professors Wright and Miller

explain that the grant of a new trial limited to damages when liability has been

properly determined is the most common example of a partial new trial.

      if an error at the trial requires a new trial on one issue and this issue is
      separate from the other issues in the case and the error did not affect the
      determination of the other issues, the scope of the new trial may be limited
      to the single issue. Perhaps the most common example is the grant of a new
      trial limited to damages when liability has been properly determined.

11 C. Wright & A. Miller Federal Practice and Procedure § 2814 (3d ed. 2023)

(footnotes omitted) (emphasis added).

      Blue Bird, the 46-year-old Fifth Circuit case, does not apply because of the

nature of the claim. The entire relevant holding is based on factors specific to the

claim at issue in that case. Specifically, “[i]n an antitrust action brought under the

Clayton Act,” there is no clean dividing line between liability and damages. 573

F.2d at 318. That’s “because liability under [Clayton Act §] 4 necessarily includes

proof of injury to business and property. Therefore, bifurcation to separate juries of

liability and damages in a § 4 case inevitably introduces the possibility that in the



      The first jury will not determine liability. It will determine merely whether
      one or more of the defendants was negligent under one of the two theories.
      The first jury may go on to decide the additional issues with regard to the
      named plaintiffs. But it will not decide them with regard to the other class
      members. Unless the defendants settle, a second (and third, and fourth, and
      hundredth, and conceivably thousandth) jury will have to decide, in
      individual follow-on litigation by class members not named as plaintiffs in
      the Wadleigh case, such issues as comparative negligence….
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liability phase the first jury might find that there was such injury, while the second

jury might on the same evidence of injury in the damage phase, find none.” Id.

“[B]ecause of this vague dividing line between liability and damages, this Court

has also cautioned that separate trials of liability and damages “must be

approached with trepidation.’” Id. (emphasis added).

      Defendants also confuse reexamination of the evidence with reexamination

of the issues. They write:

      The second jury cannot decide whether any malicious, willful, or wanton
      conduct associated with the trespass was specifically directed toward
      Plaintiffs without reexamining the evidence that this Court deemed
      insufficient to support a finding that Defendants did not set about to cause
      harm to Plaintiffs or their property.

Defendants Br. at 10; id. at 20.2 “However, the reexamination clause does not

prohibit separate juries from considering overlapping evidence, so long as the two

juries do not actually decide the same basic issues.” Cooper v. Pac. Life Ins. Co.,

458 F. Supp. 2d 1368, 1376 (S.D. Ga. 2006). As the Fifth Circuit held:

      The existence of common factual issues is to be distinguished from the
      existence of overlapping evidence. For purposes of the Seventh Amendment,
      the question is whether factual issues overlap, thus requiring one trier-of-fact
      to decide a disputed issue that must be decided by a subsequent jury, not
      whether the two fact-finders will merely have to consider similar evidence.
2
 That sentence in Defendants’ brief is difficult to parse. Plus, there’s no question
about whether Defendants’ conduct “was specifically directed toward Plaintiffs.”
That’s where Defendants’ pollution went – straight onto Plaintiffs property. There
was no ‘conduct’ by Defendants directed otherwise. And the jury found Defendants
acted with specific intent to cause harm to Plaintiffs – a finding this Court
affirmed, as it was abundantly supported by the evidence.
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Allison v. Citgo Petroleum Corp., 151 F.3d 402, 423 n.21 (5th Cir. 1998) (emphasis

added); see also Robinson v. Metro-N. Commuter R.R. Co., 267 F.3d 147, 170 n.14

(2d Cir. 2001) (same quote). “While both juries can examine overlapping

evidence, they may not decide factual issues that are common to both trials and

essential to the outcome.” Houseman v. U.S. Aviation Underwriters, 171 F.3d

1117, 1126 (7th Cir. 1999) (emphasis added).

      Nor does the fact that certain evidentiary items might have been relevant to
      both phases of trial require us to reverse the district court on this point, for
      the Seventh Amendment “prohibition is not against having two juries review
      the same evidence, but rather against having two juries decide the same
      essential issues.” In re Innotron Diagnostics, 800 F.2d 1077, 1086
      (Fed.Cir.1986).

In re Paoli R.R. Yard PCB Litig., 113 F.3d 444, 452 n.5 (3d Cir. 1997) (emphasis

added).

      At the end of the day, it is for this Court, in the exercise of its discretion and

trial management authority, to determine whether the issues of damages are

sufficiently discrete to be retried without the jury necessarily reexamining any of

the liability issues previously determined. Here, the Court can instruct the jury on

the prior findings and they “will not be required or permitted to revisit them.”

United States v. J-M Mfg. Co., Inc., 2018 WL 705532, at *10 (C.D. Cal. Jan. 31,

2018); see id. (reexamination is an issue only if “no instruction by the Court could

prevent such a result.”).

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      B. Emotional Distress Claims are not an Exception to the General Rules
         on Separate Trials.

      Defendants argue that the Court’s proposed trial plan for the emotional

distress claim is “particularly” inappropriate. Defendants’ Br. at 7. They contend

that “courts have held that emotional-distress damages are not appropriate for a

partial retrial because ‘emotional distress damages must be evaluated in light of all

the circumstances surrounding the alleged misconduct.’”3 Id. at 8. As support,

Defendants cite a 38-year-old Third Circuit case (Spence)4 and a one-sentence

footnote from an unpublished district court decision from Vermont5 (“Cole”). But

they somehow miss the more recent U.S. Supreme Court and Fourth Circuit cases

authorizing a partial new trial on damages alone in an emotional distress case.

      Hetzel v. Prince William Cnty., Va., 523 U.S. 208, 209 (1998) dealt with an

emotional distress claim where the damages were determined to be excessive. On


3
  The Defendants argue that aspects of the emotional distress damages claim are
interwoven with the first jury’s punitive-liability finding and the first jury’s
specific-intent-to-cause-harm finding. Still, the Defendants concede, as to both
points, that the issues the second jury will decide as to emotional distress damages
are “not the same” as these issues. Defendants’ Br. at 9 (“These standards are not
the same . . .”); 10 (“these standards are not the same”).
4
 Spence v. Bd. of Educ. of Christina Sch. Dist., 806 F.2d 1198, 1202 (3d Cir.
1986).
5
 Cole v. Foxmar, Inc., No. 2:18-CV-00220, 2022 WL 842881, at *18 (D. Vt. Mar.
22, 2022), reconsideration denied, 2022 WL 18456824 (D. Vt. June 13, 2022),
aff'd, No. 23-87, 2024 WL 74902 (2d Cir. Jan. 8, 2024), cert. pet. filed, No. 23-
1098 (U.S. Apr. 5, 2024).

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appeal, the Fourth Circuit had originally “set aside the damage award and

remand[ed] the case to the district court for the recalculation [rather than retrial] of

the award of damages for emotional distress.” Id. After accepting certiorari, the

Supreme Court held that, under the Seventh Amendment, the plaintiff should be

offered the option of a new trial on the issue of damages alone.

      On remand, the Fourth Circuit addressed its mandate, noting that the

Supreme Court held “that the plaintiff is entitled to a new trial on the issue of

damages alone” and that “The District Court correctly afforded petitioner the

option of a new trial when it entered judgment for the reduced damages.” In re Bd.

of Cnty. Sup’rs of Prince William Cnty., Va., 143 F.3d 835, 842 (4th Cir. 1998).

“Our obligation is to ensure that the plaintiff receives this right of conditional

remittitur, as defined by the Supreme Court.” Id. Thus, the Supreme Court and (to

the extent it matters) the Fourth Circuit have not only approved but mandated the

grant of new trial on damages alone on a claim for emotional distress.

      Even aside from the Supreme Court authority, the cases relied on by

Defendants do not help them. Cole, the Vermont District Court case, supports

Plaintiff. There the district court ordered a partial new trial on damages only, after

finding that the damages awarded on three of four counts were excessive. It then

discussed whether to affirm the portion of the verdict finding liability and




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awarding damages for emotional distress. This is the entire discussion and analysis

of the reexamination issue in Cole:

      While the jury's award of emotional distress damages is not itself excessive,
      the issue of emotional damages is not “sufficiently separate” from other
      damages “to allow a partial new trial” as to front pay, back pay, and punitive
      damages but not emotional distress damages.

Cole, 2022 WL 842881 at *18 n.8. The District Court decided to retry “damages

only” for the entire case rather than exempting the emotional distress case from the

partial new trial, concluding that “[l]iability in this case is sufficiently distinct from

damages that a new trial limited to the issue of appropriate damages would not

prejudice either party.” Id. at *18–19. Thus, the District Court Opinion ordered a

damages-only retrial of the emotional distress claim, along with the other claims.

      Spence also does not help Defendants. Defendants cite Spence as

      a case that involved both punitive and emotional-distress damages, the Third
      Circuit held that a retrial must include all issues—both liability and
      damages—because the damages issues required “present[ing] to the jury all
      the facts” of the alleged retaliation, such that “the liability and damages
      issues are not so easily separable” that they can be tried independently.
      Spence, 806 F.2d at 1201–02.

Defendants Br. at 8 (emphasis added).

      But the Third Circuit did not hold that a retrial “must include all issues—

both liability and damages.” It merely held that it was not an abuse of discretion to

order a retrial on both liability and damages for emotional distress when the

damages were excessive. The Court was quite clear that its “review is limited to

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determining whether the district court abused its discretion in reaching its

conclusion. … In summary, it is our opinion that the district judge properly used

his discretion to offer a remittitur or a new trial to the plaintiff, as well as to

determine that the liability and damage issues should be tried together on a retrial.”

Spence, 806 F.2d at 1201-02.

       And even if the Third Circuit actually had held, as defendants incorrectly

claim, that a retrial of an emotional distress case “must include all issues—both

liability and damages,” it could mean nothing in light of the Supreme Court’s

subsequent decision in Hetzel. Emotional distress claims are no exception to the

ordinary rules on the scope of retrial.

       C. Punitive Damages Are Not an Exception to the Rules Governing
          Separate Trials

         1.   The Seventh Amendment Does Not Apply to Punitive Damages
              Claims

       Preliminarily, Plaintiff contends that the Seventh Amendment does not apply

to the punitive damages claims at all. The Eleventh Circuit has recognized this as

an open issue but has not had to resolve it. Searcy v. R.J. Reynolds Tobacco Co.,

902 F.3d 1342, 1357 (11th Cir. 2018). Instead, that Court held that, even assuming

that the Seventh Amendment applied to punitive damages, the Reexamination

Clause was not violated by submitting punitive damages claims to a separate,

subsequent jury. Id.

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      As Searcy noted, the Supreme Court has distinguished punitive damages

awards from the Seventh Amendment concern discussed in such cases as Hetzel v.

Prince William County, discussed above.

      Because the jury’s award of punitive damages does not constitute a
      finding of “fact,” appellate review of the district court’s determination
      that an award is consistent with due process does not implicate the
      Seventh Amendment concerns raised by respondent and its amicus.
      Our decisions in Gasperini and Hetzel v. Prince William County, 523
      U.S. 208, 118 S.Ct. 1210, 140 L.Ed.2d 336 (1998) (per curiam), both
      of which concerned compensatory damages, are not to the contrary.

Cooper Indus., Inc. v. Leatherman Tool Grp., Inc., 532 U.S. 424, 437 (2001)

(emphasis added, citation omitted); see also Johansen v. Combustion Eng'g, Inc.,

170 F.3d 1320, 1332 (11th Cir. 1999). The Seventh Amendment does not apply,

but even if it did, it would not be violated, as discussed below.

        2.   Binding Caselaw Refutes Defendants’ Argument Concerning
             Punitive Damages and Partial Retrial

      Twice in the last six years the Eleventh Circuit has rejected Seventh

Amendment challenges to the practice of submitting punitive damages to a

separate jury. Defendants fail to discuss this Circuit’s most recent decision on this

issue, looking primarily to older cases. The most recent and on-point case from the

Eleventh Circuit, discussed above, is Sowers v. R.J. Reynolds, 975 F.3d at 1130–

31, which makes it clear that district courts have great discretion to grant partial

new trials, gathering a list of circuit authority as described above. Id.



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        As noted above, Sowers authorized and approved splitting the case into three

parts before three different juries, with the third jury addressing punitive damages.

The first jury determined the liability of the defendant to a class (“the

original Engle class action jury”). Id. A second jury “returned a verdict for an

individual plaintiff on negligence and strict liability (with underlying findings of

class membership, legal causation, and comparative fault).” Id. And the Eleventh

Circuit approved tri-furcating to a third jury “that would decide how much punitive

damages, if any, that same plaintiff would recover. Those are the circumstances

that frame the Reexamination Clause issue in this case.” (emphasis added). Id. at

1132.

        The Eleventh Circuit ruled that way despite the argument that defendants

make here:

        R.J. Reynolds argues that under the Reexamination Clause rule, a full
        retrial is necessary if there is to be a trial on punitive damages because
        “[t]here is no way to litigate punitive damages without reexamining
        the first jury's findings concerning Reynolds’ conduct, which inhere in
        its class membership, comparative-fault, and compensatory-damages
        verdicts.”

Id. In rejecting that argument, the Eleventh Circuit noted that

        to the extent it is relevant to punitive damages, negligence will be
        established through the law of the case in the punitive damages trial on
        remand; the remand jury will be instructed to accept as a given that R.J.
        Reynolds was negligent.




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      The same is true of strict liability. …, strict liability would be established
      through the law of the case in the punitive damages trial on remand, and the
      remand jury would be instructed to accept it as given.

Id. at 1135.

      The other recent Eleventh Circuit case approving bifurcation of punitive

damages before a separate jury is Searcy v. R.J. Reynolds, 902 F.3d at 1357.

Defendants describe Searcy as follows:

      the court stated that “the Seventh Amendment could be violated when
      a second jury is called on to decide punitive damages arising out of a
      verdict of liability rendered by a previous jury,” but “[i]n this case …
      we find no violation” because the second jury decided both punitive
      liability and amount of punitive damages. Id. at 1357–58.

Defendants’ Br. at 18. This Court will of course itself read those pages from the

Searcy decision. There does not appear to be any basis for the defendants’

statement that the approval of bifurcation of punitive damages in Searcy was

“because the second jury decided both punitive liability and amount of punitive

damages.” That is not how the Eleventh Circuit rationalized its holding. Searcy’s

key point is that there was no Seventh Amendment obstacle even though the

punitive damages jury would be assessing the same underlying conduct on which

the prior juries based their liability findings. 902 F.3d at 1357-58.




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                                     Conclusion

      Defendants look to yesterday’s law, shutting their eyes to the more recent

Supreme Court and Eleventh Circuit law permitting bifurcation under these

circumstances. This Court’s re-trial plan is not unconstitutional.

          Respectfully submitted this 15th day of May, 2024.


                                            /s/Michael B. Terry
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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 15, 2024, I electronically filed the foregoing

Plaintiffs’ Response in Opposition to Defendants’ Brief in Support of Their

Position that the Scope of the Partial Retrial Violates Their Constitutional Rights

with the Clerk of Court using the CM/ECF system, which automatically send e-

mail notification of such filing to any attorneys of record.

                                        /s/Michael B. Terry
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